                              UNITED STATES BANKRUPTCY COURT
                                                           Eastern District of Michigan (Detroit)
In re Duston T. Pope                                                                                              Case No. 12-66232
      Debtor                                                                                                      Chapter 13
Notice of Mortgage Payment Change

If you file a claim secured by a security interest in the debtor's principal residence provided for under the debtor's plan pursuant to § 1322(b)(5), you must use this
form to give notice of any changes in the installment payment amount. File this form as a supplement to your proof of claim at least 21 days before the new
payment amount is due. See Bankruptcy Rule 3002.1.

 Name of creditor: Wells Fargo Bank, N.A.                                                      Court claim no. (if known): 9
                                                                                         Date of payment change:
 Last four digits of any number you                                                      Must be at least 21 days after date of this notice
                                                                                                                                               08/01/2013
 use to identify the debtor's account:           7437
                                                                                         New total payment:                                    $1,151.21
                                                                                         Principal, Interest, and escrow, if any
 Uniform Claim Identifier: WFCMGE1266232MIE20037437


Part 1: Escrow Account Payment Adjustment
   Will there be a change in the debtor's escrow account payment?
        No
        Yes.   Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
                  Describe the basis for the change. If a statement is not attached, explain why:



                        Current escrow payment:             $194.74                            New escrow payment:            $198.66

Part 2: Mortgage Payment Adjustment
   Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate note?
        No
        Yes.      Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law.
                  If a notice is not attached, explain why:



       Current interest rate:                                                            New interest rate:
       Current principal and interest payment:                                           New principal and interest payment:

Part 3: Other Payment Change
   Will there be a change in the debtor's mortgage payment for a reason not listed above?
        No
        Yes.     Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
                 modification agreement. (Court approval may be required before the payment change can take effect.)
       Reason for change:


                    Current mortgage payment:                                                         New mortgage payment:




                  12-66232-mbm               Doc 62         Filed 07/01/13            Entered 07/01/13 14:09:19                     Page 1 of 7
                                                                                                                                                 Page 2




Part 4: Sign Here
  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
  number if different from the notice address listed on the proof of claim to which this Supplement applies.
  Check the appropriate box:
      I am the creditor.           I am the creditor's authorized agent.
                                   (Attach a copy of power of attorney, if any.)

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge, information,
  and reasonable belief.

        /s/ Kelli Wygant                                                              Date 07/01/2013
        VP of Loan Documentation




 Print: Kelli Wygant                                                                  Title   VP of Loan Documentation


 Company     Wells Fargo Home Mortgage                                                Specific Contact Information:
 Address     MAC X7801-014                                                            P: 800-274-7025
             3476 Stateview Blvd.                                                     E: NoticeOfPaymentChangeInquiries@wellsfargo.com
             Fort Mill, SC 29715




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              12-66232-mbm              Doc 62       Filed 07/01/13          Entered 07/01/13 14:09:19              Page 2 of 7
                             UNITED STATES BANKRUPTCY COURT
                                                 Eastern District of Michigan (Detroit)
                                                                            Chapter 13 No. 12-66232
 In re:                                                                     Judge: Judge Marci B McIvor

 Duston T. Pope

                                                   Debtor(s).


                                                     CERTIFICATE OF SERVICE
 I hereby certify that on July 01, 2013, I have served a copy of this Notice and all attachments to the following by U.S. Mail, postage pre paid, or
 via filing with the US Bankruptcy Court's CM ECF system.

 Debtor:                    Duston T. Pope
                            14327 Arden
                            Livonia, MI 48154



 Debtor's Attorney:         Rochelle E. Guznack
                            905 W. Ann Arbor Trail
                            Plymouth, MI 48170



 Trustee:                   David Wm Ruskin
                            26555 Evergreen Rd Ste 1100
                            Southfield, MI 48076-4251




                                                                            /s/ Bill Taylor
                                                                            Authorized Agent




                  12-66232-mbm            Doc 62       Filed 07/01/13         Entered 07/01/13 14:09:19                Page 3 of 7
412575-dfa19064-90b7-4399-96bc-73c50575bdaa
12-66232-mbm   Doc 62   Filed 07/01/13   Entered 07/01/13 14:09:19   Page 4 of 7
12-66232-mbm   Doc 62   Filed 07/01/13   Entered 07/01/13 14:09:19   Page 5 of 7
12-66232-mbm   Doc 62   Filed 07/01/13   Entered 07/01/13 14:09:19   Page 6 of 7
12-66232-mbm   Doc 62   Filed 07/01/13   Entered 07/01/13 14:09:19   Page 7 of 7
